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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


JANE DOE,

       Plaintiff,

v.

GEORGIA DEPARTMENT OF                      Civ. Case No. 1:23-cv-5578-MLB
CORRECTIONS; et al.,

       Defendants.


       PLAINTIFF’S MOTION FOR AUTHORIZATION TO BRING
         ELECTRONIC EQUIPMENT INTO THE COURTROOM

      The undersigned counsel for Plaintiff respectfully requests that the Court

grant Plaintiff’s counsel permission to bring electronic equipment into the Federal

Courthouse, located at 75 Ted Turner Drive, SW, Atlanta, GA 30303 for the

emergency hearing currently scheduled to occur in Courtroom 1906 at 10:00 AM on

February 12, 2025.

      The following counsel who plans to attend the status conference does not have

a blue attorney ID card issued through the U.S. Marshals Service: Shelby Saxon.

Ms. Saxon requests permission to bring cellphones, laptops, or other smart

telephones and/or personal digital assistants, all of which may have a camera

function, into the courtroom for use during the scheduled hearing and to notify the
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U.S. Marshals Service of her permission to do so. A proposed order is filed herewith.

Respectfully submitted this 11th day of February 2025.


   /s/ D Dangaran

   D Dangaran *
   Miriam R. Nemeth *                           Nicholas F. Palmieri *
   RIGHTS BEHIND BARS                           BAKER BOTTS, L.L.P.
   416 Florida Avenue N.W. #26152               30 Rockefeller Plaza
   Washington, D.C. 20001-0506                  New York, New York 10112
   (202) 455-4399                               (212) 408-2640
   d@rightsbehindbars.org                        nick.palmieri@bakerbotts.com
   miriam@rightsbehindbars.org
   Katherine E. Jeffress *                       David J. Utter
   BAKER BOTTS, L.L.P.                           Georgia Bar Number: 723144
   401 S 1st Street Suite 1300                   THE CLAIBORNE FIRM, P.C.
   Austin, Texas 78704                           410 East Bay Street
   (512) 322-2672                                Savannah, Georgia 31401
   katie.jeffress@bakerbotts.com                 (912) 236-9559 Telephone
                                                 (912) 236-1884 Facsimile
   Sterling Marchand *                           david@claibornefirm.com
   Scott Novak *
   BAKER BOTTS, L.L.P.                           Christopher J. Murell
   700 K St NW                                   Georgia Bar Number: 195116
   Washington, DC 20001                          Meghan Matt*
   (202) 639-1316                                MURELL LAW FIRM
   sterling.marchand@bakerbotts.com              2831 St. Claude Avenue
   scott.novak@bakerbotts.com                    New Orleans, Louisiana 70117
                                                 (504) 717-1297 Telephone
   Shelby Saxon*                                 (504) 233-6691 Facsimile
   BAKER BOTTS, L.L.P.                           chris@murell.law
   2001 Ross Avenue, Ste. 900                    meghan@murell.law
   Dallas, Texas 75201
   (214) 953-6455                                *Admitted pro hac vice
   shelby.saxon@bakerbotts.com                   Attorneys for Plaintiff


                                                 Attorne


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                  CERTIFICATE OF COMPLIANCE

    This document complies with Local Rule 5.1 because it uses 14-point Times

New Roman.


                                                    /s/ D Dangaran

                                                        D Dangaran
